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Court Conference                                                                                            U.S. Bankruptcy Court-District of Delaware
           Calendar Date:                    08/17/2020                                                    Confirmed Telephonic Appearance Schedule
           Calendar Time:                    11:00 AM ET
                                                                                                                                           Honorable John T. Dorsey
                                                                                                                                                         Courtroom
                                                                                                                                               Amended Calendar Aug 17 2020 10:46AM

 Page #       Item #    Case Name              Case #      Proceeding          App ID Appearing             Telephone       Firm Name                          Representing
                        Global Eagle           20-11835    Hearing            10750385   Derek C. Abbott    (302)           Morris, Nichols, Arsht & Tunnell   Interested Party, AT&T
                        Entertainment Inc.                                                                  351-9357 ext.   LLP                                Corp. / LIVE
                        Global Eagle           20-11835    Hearing            10794243   Alex Antypas       (202)           Akin Gump Strauss Hauer & Feld     Creditor, Creditors
                        Entertainment Inc.                                                                  887-4000 ext.   LLP                                Committee / LISTEN
                                                                                                                                                               ONLY
                        Global Eagle           20-11835    Hearing            10791131   Neil Augustine     (212)           Greenhill & Company, Inc.          Debtor, Global Eagle
                        Entertainment Inc.                                                                  389-1539 ext.                                      Entertainment Inc. /
                                                                                                                                                               LIVE
                        Global Eagle           20-11835    Hearing            10795108   Sean Bellew        (610)           Bellew LLC                         Creditor, BMG Rights
                        Entertainment Inc.                                                                  585-5900 ext.                                      Management (US LLC) /
                                                                                                                                                               LIVE
                        Global Eagle           20-11835    Hearing            10793968   Irene Blumberg     (212)           Paul Weiss Rifkind Wharton &       Interested Party,
                        Entertainment Inc.                                                                  373-3000 ext.   Garrison                           Searchlight Capital
                                                                                                                                                               Partners / LISTEN
                                                                                                                                                               ONLY
                        Global Eagle           20-11835    Hearing            10793930   Sindhu Boddu       (212)           Latham & Watkins LLP               Debtor, Global Eagle
                        Entertainment Inc.                                                                  906-1200 ext.                                      Entertainment Inc. /
                                                                                                                                                               LIVE
                        Global Eagle           20-11835    Hearing            10794132   William Bowden     (302)           Ashby & Geddes                     Creditor, Creditors
                        Entertainment Inc.                                                                  654-1888 ext.                                      Committee / LIVE
                        Global Eagle           20-11835    Hearing            10794162   Marty L.           (214)           Akin Gump Strauss Hauer & Feld     Creditor, Creditors
                        Entertainment Inc.                                               Brimmage           969-2885 ext.   LLP                                Committee / LIVE
                        Global Eagle           20-11835    Hearing            10794381   Alix Brozman       (646)           Reorg Research, Inc.               Interested Party, Reorg
                        Entertainment Inc.                                                                  213-7400 ext.                                      Research / LISTEN
                                                                                                                                                               ONLY
                        Global Eagle           20-11835    Hearing            10793943   Avery Burrell      (212)           Paul Weiss                         Interested Party,
                        Entertainment Inc.                                                                  373-3234 ext.                                      Searchlight Capital
                                                                                                                                                               Partners / LIVE
                        Global Eagle           20-11835    Hearing            10782767   Sara L. Chenetz    (310)           Perkins Coie LLP                   Creditor, Sony Pictures /
                        Entertainment Inc.                                                                  788-3218 ext.                                      LISTEN ONLY
                        Global Eagle           20-11835    Hearing            10796414   Matthew Chou       (212)           Rothschild                         Interested Party, Ad Hoc
                        Entertainment Inc.                                                                  403-3725 ext.                                      DIP and First Lien
                                                                                                                                                               Lender Group / LIVE
                        Global Eagle           20-11835    Hearing            10795359   Michael J.         (212)           Gibson, Dunn & Crutcher LLP        Interested Party, Ad Hoc
                        Entertainment Inc.                                               Cohen              351-4000 ext.                                      DIP and First Lien
                                                                                                                                                               Lender Group / LIVE

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                        Global Eagle         20-11835   Case  20-11835-JTD
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                                                                                   Michael
                                                                             10791135             (212)             PageGreenhill
                                                                                                                         2 of 6& Co.                         Debtor, Global Eagle
                        Entertainment Inc.                                              Costelloe          389-1552 ext.                                     Entertainment Inc. /
                                                                                                                                                             LISTEN ONLY
                        Global Eagle         20-11835    Hearing             10795174   Alex Cota          (212)           Stroock & Stroock & Lavan LLP     Interested Party, Alex
                        Entertainment Inc.                                                                 806-5531 ext.                                     Cota / LISTEN ONLY
                        Global Eagle         20-11835    Hearing             10791116   Kara Coyle         (302)           Young, Conaway Stargatt &         Debtor, Global Eagle
                        Entertainment Inc.                                                                 571-6600 ext.   Taylor, LLP                       Entertainment Inc. /
                                                                                                                                                             LIVE
                        Global Eagle         20-11835    Hearing             10791119   George Davis       (312)           Latham & Watkins LLP              Debtor, Global Eagle
                        Entertainment Inc.                                                                 777-7112 ext.                                     Entertainment Inc. /
                                                                                                                                                             LIVE
                        Global Eagle         20-11835    Hearing             10795354   Laura Davis        (302)           Pachulski Stang Ziehl & Jones     Interested Party, Ad Hoc
                        Entertainment Inc.                                              Jones              778-6401 ext.                                     DIP and First Lien
                                                                                                                                                             Lender Group / LIVE
                        Global Eagle         20-11835    Hearing             10793217   Michael D.         (302)           Ashby & Geddes                    Creditor, Creditors
                        Entertainment Inc.                                              DeBaecke           654-1888 ext.                                     Committee / LIVE
                        Global Eagle         20-11835    Hearing             10795411   Frank W.           (404)           Morris, Manning & Martin, LLP     Creditor, Warner Music
                        Entertainment Inc.                                              DeBorde            233-7000 ext.                                     Group / LISTEN ONLY
                        Global Eagle         20-11835    Hearing             10793925   Daniel             (302)           Richards, Layton & Finger, P.A.   Interested Party,
                        Entertainment Inc.                                              DeFranceschi       651-7700 ext.                                     Searchlight Capital
                                                                                                                                                             Partners / LIVE
                        Global Eagle         20-11835    Hearing             10790756   Karol K.           (415)           Squire Patton Boggs (US), LLP     Interested Party, US
                        Entertainment Inc.                                              Denniston          393-9803 ext.                                     Bank / LIVE
                        Global Eagle         20-11835    Hearing             10792330   Jason DiBattista   (212)           LevFin Insights                   Interested Party, LevFin
                        Entertainment Inc.                                                                 205-8553 ext.                                     Insights / LISTEN ONLY
                        Global Eagle         20-11835    Hearing             10791118   Ted A. Dillman     (213)           Latham & Watkins LLP              Debtor, Global Eagle
                        Entertainment Inc.                                                                 891-8603 ext.                                     Entertainment Inc. /
                                                                                                                                                             LIVE
                        Global Eagle         20-11835    Hearing             10794143   Philip Dublin      (212)           Akin Gump Strauss Hauer & Feld    Creditor, Creditors
                        Entertainment Inc.                                                                 872-8083 ext.   LLP                               Committee / LIVE
                        Global Eagle         20-11835    Hearing             10796433   Michael Farag      (213)           Gibson, Dunn & Crutcher LLP       Interested Party, Ad Hoc
                        Entertainment Inc.                                                                 229-7559 ext.                                     DIP and First Lien
                                                                                                                                                             Lender Group / LISTEN
                                                                                                                                                             ONLY
                        Global Eagle         20-11835    Hearing             10791117   Betsy L.           (302)           Young Conaway Stargatt &          Debtor, Global Eagle
                        Entertainment Inc.                                              Feldman            573-7780 ext.   Taylor, LLP                       Entertainment Inc. /
                                                                                                                                                             LIVE
                        Global Eagle         20-11835    Hearing             10750598   David M.           (949)           Troutman Pepper Hamilton          Representing, Citibank,
                        Entertainment Inc.                                              Fournier           622-2707 ext.   Sanders LLP                       N.A., as Prepetition First
                                                                                                                                                             Lien Administrative
                                                                                                                                                             Agent and DIP Agent /
                                                                                                                                                             LIVE
                        Global Eagle         20-11835    Hearing             10793440   Matthew            (336)           Choate Hall & Stewart, LLP        Bankruptcy Counsel,
                        Entertainment Inc.                                              Foushee            978-8706 ext.                                     Citizens Bank / LIVE
                        Global Eagle         20-11835    Hearing             10796430   Timothy Fox        (302)           Office of the United States       U.S. Trustee, Timothy J.
                        Entertainment Inc.                                                                 573-6491 ext.   Trustee                           Fox / LIVE
                        Global Eagle         20-11835    Hearing             10796372   Michael            (212)           Perella Weinberg Partners L.P.    Witness, Global Eagle
                        Entertainment Inc.                                              Genereux           287-3200 ext.                                     Entertainment, Inc., et
                                                                                                                                                             al. / LIVE

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                        Global Eagle         20-11835   Case  20-11835-JTD
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                                                                             10794187    Gessner08/17/20
                                                                                                    (212)             PageAkin
                                                                                                                           3 of  6 Strauss Hauer & Feld
                                                                                                                               Gump                            Creditor, Creditors
                        Entertainment Inc.                                                                   872-7408 ext.   LLP                               Committee / LIVE
                        Global Eagle         20-11835    Hearing             10792900   Jason A. Gibson      (302)           The Rosner Law Group LLC          Interested Party,
                        Entertainment Inc.                                                                   777-1111 ext.                                     Nantahala Capital
                                                                                                                                                               Management, LLC /
                                                                                                                                                               LIVE
                        Global Eagle         20-11835    Hearing             10794204   Stewart Gilson       (415)           Akin Gump Strauss Hauer & Feld    Creditor, Creditors
                        Entertainment Inc.                                                                   765-9571 ext.   LLP                               Committee / LIVE
                        Global Eagle         20-11835    Hearing             10795364   Jason Z.             (212)           Gibson, Dunn & Crutcher LLP       Interested Party, Ad Hoc
                        Entertainment Inc.                                              Goldstein            351-4000 ext.                                     DIP and First Lien
                                                                                                                                                               Lender Group / LIVE
                        Global Eagle         20-11835    Hearing             10791155   Jon Goulding         (310)           Alvarez & Marsal                  Debtor, Global Eagle
                        Entertainment Inc.                                                                   975-2638 ext.                                     Entertainment Inc. /
                                                                                                                                                               LIVE
                        Global Eagle         20-11835    Hearing             10796444   Trinitee Green       (312)           Polsinelli PC                     Creditor, US Bank NA /
                        Entertainment Inc.                                                                   463-6201 ext.                                     LISTEN ONLY
                        Global Eagle         20-11835    Hearing             10795413   Scott Greenberg      (213)           Gibson Dunn & Crutcher LLP        Interested Party, Ad Hoc
                        Entertainment Inc.                                                                   229-7000 ext.                                     First Lien Group / LIVE
                        Global Eagle         20-11835    Hearing             10796666   David R.             (312)           David R. Gremling - In Pro        Interested Party, David
                        Entertainment Inc.                                              Gremling             208-7961 ext.   Per/Pro Se                        Gremling / LISTEN
                                                                                                                                                               ONLY
                        Global Eagle         20-11835    Hearing             10750609   David N. Griffiths   (212)           Weil Gotshal & Manges LLP         Representing, Citibank,
                        Entertainment Inc.                                                                   310-8000 ext.                                     N.A., as Prepetition First
                                                                                                                                                               Lien Administrative
                                                                                                                                                               Agent and DIP Agent /
                                                                                                                                                               LIVE
                        Global Eagle         20-11835    Hearing             10795762   Taylor B.            (212)           Debtwire                          Interested Party,
                        Entertainment Inc.                                              Harrison             390-7831 ext.                                     Debtwire / LISTEN
                                                                                                                                                               ONLY
                        Global Eagle         20-11835    Hearing             10796426   Ashtyn               (212)           Gibson, Dunn & Crutcher LLP       Interested Party, Ad Hoc
                        Entertainment Inc.                                              Hemendinger          351-2349 ext.                                     DIP and First Lien
                                                                                                                                                               Lender Group / LISTEN
                                                                                                                                                               ONLY
                        Global Eagle         20-11835    Hearing             10795094   R. Karl Hill         (302)           Seitz, Van Ogtrop & Green, P.A.   Creditor, Citizens Bank /
                        Entertainment Inc.                                                                   888-7604 ext.                                     LIVE
                        Global Eagle         20-11835    Hearing             10796572   Abi Jain             (848)           Abi Jain - In Pro Per/Pro Se      Interested Party, Abi
                        Entertainment Inc.                                                                   702-2609 ext.                                     Jain / LISTEN ONLY
                        Global Eagle         20-11835    Hearing             10794101   Annette Jarvis       (801)           Greenberg Traurig LLP             Representing, American
                        Entertainment Inc.                                                                   478-6907 ext.                                     Airlines / LIVE
                        Global Eagle         20-11835    Hearing             10796383   Eric Kang            (212)           Greenhill & Co.                   Interested Party, Global
                        Entertainment Inc.                                                                   389-1552 ext.                                     Eagle Entertainment,
                                                                                                                                                               Inc., et al. / LISTEN
                                                                                                                                                               ONLY
                        Global Eagle         20-11835    Hearing             10796368   Jeffrey Kaplan       (201)           CRG Financial LLC                 Consultant, CRG
                        Entertainment Inc.                                                                   627-8142 ext.                                     Financial LLC / LISTEN
                                                                                                                                                               ONLY
                        Global Eagle         20-11835    Hearing             10796386   Mitch Kimball        (212)           Green Hill & Company              Interested Party, Global
                        Entertainment Inc.                                                                   389-1552 ext.                                     Eagle Entertainment,
                                                                                                                                                               Inc., et al. / LISTEN
                                                                                                                                                               ONLY
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                        Global Eagle         20-11835    Hearing            10791244   Paul Kinealy       (312)           Alvarez & Marsal                   Debtor, Global Eagle
                        Entertainment Inc.                                                                288-4061 ext.                                      Entertainment Inc. /
                                                                                                                                                             LISTEN ONLY
                        Global Eagle         20-11835    Hearing            10793937   Karen King         (212)           Paul Weiss                         Interested Party,
                        Entertainment Inc.                                                                373-3234 ext.                                      Searchlight Capital
                                                                                                                                                             Partners / LIVE
                        Global Eagle         20-11835    Hearing            10793950   Alan Kornberg      (212)           Paul Weiss Rifkind Wharton &       Interested Party,
                        Entertainment Inc.                                                                373-3209 ext.   Garrison                           Searchlight Capital
                                                                                                                                                             Partners / LIVE
                        Global Eagle         20-11835    Hearing            10794172   Lacy Lawrence      (214)           Akin Gump Strauss Hauer & Feld     Creditor, Creditors
                        Entertainment Inc.                                                                969-2800 ext.   LLP                                Committee / LIVE
                        Global Eagle         20-11835    Hearing            10791253   Jeffrey Leddy      (310)           Global Eagle Entertainment         Debtor, Global Eagle
                        Entertainment Inc.                                                                437-6000 ext.                                      Entertainment Inc. /
                                                                                                                                                             LISTEN ONLY
                        Global Eagle         20-11835    Hearing            10791132   Eric F. Leon       (212)           Latham & Watkins LLP               Debtor, Global Eagle
                        Entertainment Inc.                                                                906-4587 ext.                                      Entertainment Inc. /
                                                                                                                                                             LIVE
                        Global Eagle         20-11835    Hearing            10795861   Brian J. Lohan     (312)           Arnold & Porter Kaye Scholer LLP   Interested Party, AT&T
                        Entertainment Inc.                                                                583-2403 ext.                                      Corp. / LIVE
                        Global Eagle         20-11835    Hearing            10796380   Peter A. Lopez     (302)           Global Eagle Entertainment         Interested Party, Global
                        Entertainment Inc.                                                                571-6600 ext.                                      Eagle Entertainment,
                                                                                                                                                             Inc., et al. / LISTEN
                                                                                                                                                             ONLY
                        Global Eagle         20-11835    Hearing            10791264   Jeff Lui           (631)           Alvarez and Marsal                 Debtor, Global Eagle
                        Entertainment Inc.                                                                835-8227 ext.                                      Entertainment Inc. /
                                                                                                                                                             LIVE
                        Global Eagle         20-11835    Hearing            10795377   Mary Beth          (212)           Gibson, Dunn & Crutcher LLP        Interested Party, Ad Hoc
                        Entertainment Inc.                                             Maloney            351-2315 ext.                                      First Lien Group / LIVE
                        Global Eagle         20-11835    Hearing            10791250   Joshua Marks       (703)           Global Eagle Entertainment         Debtor, Global Eagle
                        Entertainment Inc.                                                                994-0000 ext.                                      Entertainment Inc. /
                                                                                                                                                             LIVE
                        Global Eagle         20-11835    Hearing            10791133   Jamie M. Marr      (212)           Latham & Watkins LLP               Debtor, Global Eagle
                        Entertainment Inc.                                                                906-4587 ext.                                      Entertainment Inc. /
                                                                                                                                                             LIVE
                        Global Eagle         20-11835    Hearing            10793919   Melissa Martinez   (215)           Saul Ewing Arnstein & Lehr LLP     Creditor, Southwest
                        Entertainment Inc.                                                                972-8582 ext.                                      Airlines / LIVE
                        Global Eagle         20-11835    Hearing            10794230   Brennan Meier      (214)           Akin Gump Strauss Hauer & Feld     Creditor, Creditors
                        Entertainment Inc.                                                                969-2714 ext.   LLP                                Committee / LIVE
                        Global Eagle         20-11835    Hearing            10794085   Dennis A. Meloro   (302)           Greenberg Traurig, LLP             Representing, American
                        Entertainment Inc.                                                                661-7000 ext.                                      Airlines / LIVE
                        Global Eagle         20-11835    Hearing            10791125   Nicholas           (213)           Latham & Watkins LLP               Debtor, Global Eagle
                        Entertainment Inc.                                             Messana            891-8706 ext.                                      Entertainment Inc. /
                                                                                                                                                             LIVE
                        Global Eagle         20-11835    Hearing            10791127   Christian Mezger   (310)           Global Eagle Entertainment         Debtor, Global Eagle
                        Entertainment Inc.                                                                437-6000 ext.                                      Entertainment Inc. /
                                                                                                                                                             LIVE
                        Global Eagle         20-11835    Hearing            10792877   Lucian Murley      (302)           Saul Ewing Arnstein & Lehr LLP     Creditor, Southwest
                        Entertainment Inc.                                                                421-6898 ext.                                      Airlines Co. / LIVE


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                        Global Eagle         20-11835   Case  20-11835-JTD
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                                                                                   Kim Nakamaru   (310)            PageGlobal
                                                                                                                        5 of Eagle
                                                                                                                              6 Entertainment              Debtor, Global Eagle
                        Entertainment Inc.                                                                437-6000 ext.                                    Entertainment Inc. /
                                                                                                                                                           LIVE
                        Global Eagle         20-11835    Hearing             10796389   Michael Neiburg   (302)           Young, Conaway Stargatt &        Interested Party, Global
                        Entertainment Inc.                                                                576-3590 ext.   Taylor, LLP                      Eagle Entertainment,
                                                                                                                                                           Inc., et al. / LIVE
                        Global Eagle         20-11835    Hearing             10791113   Michael Nestor    (302)           Young, Conaway Stargatt &        Debtor, Global Eagle
                        Entertainment Inc.                                                                571-6600 ext.   Taylor, LLP                      Entertainment Inc. /
                                                                                                                                                           LIVE
                        Global Eagle         20-11835    Hearing             10793556   Chaka C.          (310)           Gerard Fox Law, PC               Creditor, BMG / LIVE
                        Entertainment Inc.                                              Okadigbo          441-0500 ext.
                        Global Eagle         20-11835    Hearing             10791122   Madeleine         (212)           Latham & Watkins LLP             Debtor, Global Eagle
                        Entertainment Inc.                                              Parish            906-1200 ext.                                    Entertainment Inc. /
                                                                                                                                                           LIVE
                        Global Eagle         20-11835    Hearing             10796416   Homer Parkhill    (212)           Rothschild, Inc.                 Interested Party, Ad Hoc
                        Entertainment Inc.                                                                403-3677 ext.                                    DIP and First Lien
                                                                                                                                                           Lender Group / LIVE
                        Global Eagle         20-11835    Hearing             10796370   Erin Peek         (214)           Akin Gump Strauss Hauer & Feld   Cross-Defendant(s),
                        Entertainment Inc.                                                                969-2800 ext.   LLP                              Official Committee of
                                                                                                                                                           Unsecured Creditors /
                                                                                                                                                           LIVE
                        Global Eagle         20-11835    Hearing             10796318   John D. Penn      (214)           Perkins Coie LLP                 Interested Party, John
                        Entertainment Inc.                                                                965-7734 ext.                                    D. Penn / LISTEN ONLY
                        Global Eagle         20-11835    Hearing             10750623   Bryan Podzius     (212)           Weil Gotshal & Manges LLP        Representing, Citibank,
                        Entertainment Inc.                                                                310-8805 ext.                                    N.A., as Prepetition First
                                                                                                                                                           Lien Administrative
                                                                                                                                                           Agent and DIP Agent /
                                                                                                                                                           LIVE
                        Global Eagle         20-11835    Hearing             10792271   Amy C.            (213)           Latham & Watkins LLP             Debtor, Global Eagle
                        Entertainment Inc.                                              Quartarolo        891-8966 ext.                                    Entertainment / LIVE
                        Global Eagle         20-11835    Hearing             10795400   Jeff Rosen        (212)           Gibson, Dunn & Crutcher LLP      Interested Party, Ad Hoc
                        Entertainment Inc.                                                                351-4000 ext.                                    First Lien Group / LIVE
                        Global Eagle         20-11835    Hearing             10796420   Jeffrey Rosen     (212)           Apollo Global Management, LLC    Interested Party, Ad Hoc
                        Entertainment Inc.                                                                515-3200 ext.                                    DIP and First Lien
                                                                                                                                                           Lender Group / LISTEN
                                                                                                                                                           ONLY
                        Global Eagle         20-11835    Hearing             10794154   Jason P. Rubin    (212)           Akin Gump Strauss Hauer & Feld   Creditor, Creditors
                        Entertainment Inc.                                                                872-1000 ext.   LLP                              Committee / LIVE
                        Global Eagle         20-11835    Hearing             10793957   Elizabeth M.      (212)           Paul Weiss Rifkind Wharton &     Interested Party,
                        Entertainment Inc.                                              Sacksteder        373-3000 ext.   Garrison                         Searchlight Capital
                                                                                                                                                           Partners / LIVE
                        Global Eagle         20-11835    Hearing             10791134   Jochen Schmitz    (212)           Greenhill & Co.                  Debtor, Global Eagle
                        Entertainment Inc.                                                                389-1676 ext.                                    Entertainment Inc. /
                                                                                                                                                           LISTEN ONLY
                        Global Eagle         20-11835    Hearing             10796381   Ryan Shanken      (305)           Alvarez & Marsal                 Interested Party, Global
                        Entertainment Inc.                                                                704-6700 ext.                                    Eagle Entertainment,
                                                                                                                                                           Inc., et al. / LISTEN
                                                                                                                                                           ONLY



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                                                                                           Shapiro (302)             PageRichards,
                                                                                                                          6 of 6 Layton & Finger, P.A.        Interested Party,
                        Entertainment Inc.                                                                  651-7819 ext.                                     Searchlight Capital
                                                                                                                                                              Partners / LIVE
                        Global Eagle         20-11835    Hearing             10796432   Simon Shnayder      (212)           Rothschild Inc.                   Interested Party, Ad Hoc
                        Entertainment Inc.                                                                  403-5263 ext.                                     DIP and First Lien
                                                                                                                                                              Lender Group / LISTEN
                                                                                                                                                              ONLY
                        Global Eagle         20-11835    Hearing             10796477   Christopher         (646)           Cowen and Company LLC             Interested Party, Cowen
                        Entertainment Inc.                                              Sinnott             562-1770 ext.                                     and Company / LISTEN
                                                                                                                                                              ONLY
                        Global Eagle         20-11835    Hearing             10796425   Sean C.             (212)           Klestadt Winters Jureller         Interested Party, Telstra
                        Entertainment Inc.                                              Southard            972-3000 ext.   Southard & Stevens, LLP           Incorporated, Telstra
                                                                                                                                                              Intl., Telestra Co, / LIVE
                        Global Eagle         20-11835    Hearing             10796442   Steven Spriggs      (213)           Gibson Dunn & Crutcher LLP        Client, Ad Hoc First Lien
                        Entertainment Inc.                                                                  229-7000 ext.                                     and DIP Lender Group /
                                                                                                                                                              LISTEN ONLY
                        Global Eagle         20-11835    Hearing             10796856   Chris Stauble       (212)           Weil Gotshal & Manges LLP         Interested Party, Weil
                        Entertainment Inc.                                                                  735-4935 ext.                                     Gotshal & Manges /
                                                                                                                                                              LISTEN ONLY
                        Global Eagle         20-11835    Hearing             10792901   Arthur J            (212)           King & Spalding LLP               Interested Party,
                        Entertainment Inc.                                              Steinberg           556-2100 ext.                                     Nantahala Capital
                                                                                                                                                              Management, LLC /
                                                                                                                                                              LIVE
                        Global Eagle         20-11835    Hearing             10793923   Matthew D.          (214)           Vinson & Elkins LLP               Creditor, Southwest
                        Entertainment Inc.                                              Struble             220-7800 ext.                                     Airlines / LIVE
                        Global Eagle         20-11835    Hearing             10796819   Jeff Thoben         (571)           Jeff Thoben - In Pro Per/Pro Se   Interested Party, Jeff
                        Entertainment Inc.                                                                  451-5092 ext.                                     Thoben / LIVE
                        Global Eagle         20-11835    Hearing             10791120   Helena              (213)           Latham & Watkins LLP              Debtor, Global Eagle
                        Entertainment Inc.                                              Tseregounis         891-7698 ext.                                     Entertainment Inc. /
                                                                                                                                                              LIVE
                        Global Eagle         20-11835    Hearing             10793962   Michael Turkel      (212)           Paul Weiss Rifkind Wharton &      Interested Party,
                        Entertainment Inc.                                                                  373-3689 ext.   Garrison                          Searchlight Capital
                                                                                                                                                              Partners / LIVE
                        Global Eagle         20-11835    Hearing             10793927   William             (214)           Vinson & Elkins LLP               Creditor, Southwest
                        Entertainment Inc.                                              Wallander           220-7905 ext.                                     Airlines / LIVE
                        Global Eagle         20-11835    Hearing             10794072   Jeffrey C. Wisler   (302)           Connolly Gallagher LLP            Claimant, Cigna / LIVE
                        Entertainment Inc.                                                                  888-6258 ext.
                        Global Eagle         20-11835    Hearing             10796611   Alex Wolf           (202)           Bloomberg Law                     Media, Bloomberg Law /
                        Entertainment Inc.                                                                  999-9069 ext.                                     LISTEN ONLY
                        Global Eagle         20-11835    Hearing             10796466   Becky A. Yerak      (312)           Wall Street Journal               Interested Party, Wall
                        Entertainment Inc.                                                                  543-1306 ext.                                     Street Journal / LISTEN
                                                                                                                                                              ONLY
                        Global Eagle         20-11835    Hearing             10796429   Timothy             (303)           Gibson, Dunn & Crutcher LLP       Creditor, Ad Hoc First
                        Entertainment Inc.                                              Zimmerman           298-5721 ext.                                     Lien and DIP Lender
                                                                                                                                                              Group / LISTEN ONLY




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